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                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

ROBYN LEBLANC,                                  )
                                                )
              Plaintiff,                        )
                                                )
       v.                                       )          CV 118-159
                                                )
GEORGIA CVS PHARMACY, LLC, and                  )
A.B.C.,                                         )
                                                )
              Defendants.                       )


            MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION


       In consideration of the record, the Court REPORTS and RECOMMENDS this case

be REMANDED to the Superior Court of Richmond County, Georgia, based on lack of

subject-matter jurisdiction and this civil action be CLOSED.

I.     BACKGROUND

       Plaintiff alleges she was an invitee at a CVS Pharmacy on August 14, 2015, when a

freezer door fell off its hinge and crushed her hand. (Doc. no. 1-1, pp. 2-3.) Plaintiff alleges

damages based on unspecified medical expenses, mileage expenses, and loss of quality of

life. (Id. at 3.) Plaintiff filed this action in the Superior Court of Richmond County, and

Defendant Georgia CVS Pharmacy, LLC, (“CVS”) filed a Notice of Removal on September

19, 2018, asserting diversity of citizenship and a good faith belief the amount in controversy

exceeds $75,000. (Doc. no. 1, p. 4.) There is no specific amount of damages claimed in the

complaint. (See doc. no. 1-1, pp. 2-3.)
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       On October 10, 2018, the Court ordered Defendants to provide sufficient evidence

establishing the amount in controversy within fourteen days, after finding it is not facially

apparent from the complaint Plaintiffs’ claim exceeds the amount-in-controversy

requirement.    (Doc. no. 11.)     In response, Defendant CVS cites Plaintiffs’ deposition

testimony and medical records and bills obtained during litigation in the Superior Court of

Richmond County showing Plaintiff has sustained injuries resulting in medical expenses of

$21,354.24. (Doc. no. 15, p. 3; see also doc. no. 15-2.) Additionally, Defendant CVS points

to deposition testimony showing of possible future medical expenses after being diagnosed

with complex regional pain syndrome and nerve damage in her wrist, which could result in

permanent loss of sensation and touch in Plaintiff’s left hand. (Doc. no. 15, p. 3; see

generally doc. no. 15-3.)        Currently, Plaintiff is being treated by multiple medical

professionals. (Doc. no. 15, p. 3.)

       Lastly, Defendant CVS argues Plaintiff is also contending as a result of the accident

she has been unable to work. (Id. at 4.) However, there is no information on lost wages, and

Defendant CVS is awaiting initial disclosures for such information. (Id.) Defendant CVS

expects additional evidence of damages after initial disclosures are completed. (Id.)

II.    DISCUSSION

       Generally, a defendant may remove an action from state court when the federal court

would possess original jurisdiction over the subject matter, “except as otherwise expressly

provided by an Act of Congress.” 28 U.S.C. § 1441(a). “The district courts shall have

original jurisdiction of all civil actions where the matter in controversy exceeds the sum or

value of $75,000, exclusive of interest and costs, and is between citizens of different States . .
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. .” 28 U.S.C. § 1332(a)(1). The Court construes the removal statute narrowly. Pretka v.

Kolter City Plaza II, Inc., 608 F.3d 744, 766 (11th Cir. 2010).

        A removing defendant has the burden to establish federal jurisdiction. See Lowery v.

Ala. Power Co., 483 F.3d 1184, 1208 (11th Cir. 2007). And the removing party must point

to facts, not conclusory allegations, to meet its burden. See Williams v. Best Buy Co., 269

F.3d 1316, 1319-20 (11th Cir. 2001). “A court’s analysis of the amount-in-controversy

requirement focuses on how much is in controversy at the time of removal, not later.”

Pretka, 608 F.3d at 751.

        Moreover, “[w]here, as here, the plaintiff has not pled a specific amount of damages,

the removing defendant must prove by a preponderance of the evidence that the amount in

controversy exceeds the jurisdictional requirement.” Williams, 269 F.3d at 1319. Although

a defendant need not “banish all uncertainty about” the amount in controversy, the Court

requires a removing defendant to make “specific factual allegations establishing jurisdiction

[that can be supported] . . . with evidence combined with reasonable deductions, reasonable

inferences, or other reasonable extrapolations.”     Pretka, 608 F.3d at 754. That is, the

existence of jurisdiction should not be “divined by looking to the stars.” Lowery, 483 F.3d at

1215.

        An indeterminate claim for damages is not dispositive but should not be ignored by

the Court. See Roe v. Michelin N. Am., Inc., 613 F.3d 1058, 1064 (11th Cir. 2010). Rather,

“courts may use their judicial experience and common sense in determining whether the case

stated in a complaint meets federal jurisdictional requirements.”      Id. at 1062 (footnote

omitted).


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       Here, Defendants have failed to meet their burden by a preponderance of the evidence

to show the amount in controversy exceeds $75,000. General requests for future medical

expenses, loss of quality of life from permanent damage to Plaintiff’s left hand, and

speculative lost wages of an undetermined amount provide no detail or basis upon which the

Court can make reasonable deductions, inferences, or other extrapolations. Pretka, 608 F.3d

at 753. Defendant CVS conceded it is currently without information as to Plaintiff’s lost

wages. (Doc. no. 15, p. 4.) As to Defendant CVS’s hope the initial disclosures will provide

more updated evidence as to the future medical expenses and permanent damage to

Plaintiff’s left hand, information obtained after removal is too late for the Court to consider.

See Pretka, 608 F.3d at 751. Thus, the only item of damages the Court can reasonably

calculate is $21,354.24 in current medical expenses which, when combined with Plaintiff’s

general damages pleas in her complaint, do not establish by a preponderance of the evidence

an amount in controversy exceeding $75,000.

       This finding is in line with precedent. See White v. Costco Wholesale Corporation,

2018 WL 4002562, at *2 (S.D. Ga. Aug. 22, 2018) (finding amount in controversy not met in

slip and fall case where $54,298.10 in medicals and general damages plea); Kenney v. Briggs

& Stratton Corp., CV 116-113, 2016 WL 6650845, at *2-3 (S.D. Ga. Nov. 9, 2016) (finding

no jurisdiction in pressure washer injury case with $36,000 in medicals, post-removal

response to request for admission that damages exceed $75,000, and $100,000 settlement

demand), adopted by, 2016 WL 7131539 (S.D. Ga. Dec. 6, 2016) (Hall, C.J.); Cobb v.

Sanders, CV 116-073, 2016 WL 4197595, at *3 (S.D. Ga. Aug. 9, 2016) (finding no

jurisdiction in vehicle accident case with $31,000 in medicals, allegations of general

damages, and demand letter for $225,000), adopted by, 2016 WL 4582067 (S.D. Ga. Sept. 1,
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2016) (Hall, C.J.); Arrington v. Wal-Mart Stores, Inc., No. 7:13-CV-154, 2014 WL 657398,

at *1 (M.D. Ga. Feb. 20, 2014) (finding no jurisdiction in slip-and-fall case with $44,000 in

medicals and insufficient evidence to calculate future monetary losses); Cross v. Wal-Mart

Stores, E., LP, No. 7:11-CV-21, 2011 WL 976414, at *2 (M.D. Ga. Mar. 17, 2011) (finding

no jurisdiction in slip-and-fall case with $45,000 in medicals, allegations of general damages,

and a demand letter for $125,000) but see Farley v. Variety Wholesalers, Inc., No. 5:13-CV-

52, 2013 WL 1748608, at *2 (M.D. Ga. Apr. 23, 2013) (finding jurisdiction in premises

liability case with $13,000 in medicals and possibility of two future surgeries).

III.   CONCLUSION

       Because there is no subject-matter jurisdiction, the Court REPORTS and

RECOMMENDS this action be REMANDED to the Superior Court of Richmond County,

Georgia, and this civil action be CLOSED.

       SO REPORTED and RECOMMENDED this 7th day of November, 2018, at Augusta,

Georgia.




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